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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA

  Elizabeth Sines et al.,

                     Plaintiffs,                       Civil Action No. 3:17-cv-72
  v.
                                                        JUDGE MOON
  Jason Kessler et al.,

                     Defendants.


                                              ORDER

         Upon consideration of Defendant’s Motion for James E. Kolenich’s Admission Pro

  Hac Vice, the entire record herein, and for good cause shown, it is hereby:

         ORDERED that Defendant’s Motion is GRANTED; and it is further

  ORDERED that James E. Kolenich, Esq. is admitted pro hac vice to appear before this Court

  on behalf of Jason Kessler, Christopher Cantwell, Nathan Damigo, Matthew Heimbach, Identity

  Europa, Elliott Kline, National Socialist Movement, Nationalist Front, Matthew Parrott, Jeff

  Schoep, Traditionalist Workers Party, Vanguard America, and Robert Ray in this action.



                                                      United States District Judge
